

Coffman v A.O. Smith Water Prods. Co. (2024 NY Slip Op 00021)





Coffman v A.O. Smith Water Prods. Co.


2024 NY Slip Op 00021


Decided on January 04, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 04, 2024

Before: Singh, J.P., Scarpulla, Pitt-Burke, Higgitt, O'Neill Levy, JJ. 


Index No. 190137/16 Appeal No. 1340 Case No. 2022-03091 

[*1]Patricia Lee Coffman, as Executor for the Estate of Robert G. Coffman, Plaintiff- Respondent,
vA.O. Smith Water Products Co., et al., Defendants, Azrock Industries, a Division of Domco, Inc., Defendant-Appellant.





An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Adam Silvera, J.), entered on or about June 29, 2022,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated December 12, 2023,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: January 4, 2024








